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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

  In re:                                     §
                                             §
  TIMEKEEPERS INC.                           §       CASE NO. 24-51101-mmp
                                             §                     (Chapter 11)
  Debtor                                     §


           ORDER GRANTING DEBTOR’S SECOND EMERGENCY MOTION FOR
                   AUTHORIZATION TO USE CASH COLLATERAL

           On this day, came to be heard the Debtor’s Emergency Motion for Authorization to Use

  Cash Collateral (the “Application”) and appeared the Debtor and requested that the Court authorize

  that the Debtor be allowed to use the cash collateral of the following creditors (the “Cash Collateral

  Creditors”):
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          a.   Advanced Business Capital Inc. d/b/a Far West Capital (amount owed: $29,200.00)1
          b.   U.S. Small business Administration (amount owed: $1,879,513.00)
          c.   Fundi Merchant Funding (amount owed: $162,500.00)
          d.   NewCo Capital Group VI LLC (amount owed: $265,180.00)
          e.   Cloudfund LLC (amount owed: ($121,420.00)
          f.   E Advance Services (amount owed: $178,700.00)
          g.   Advance Servicing Inc.(amount owed $60,025.00)

          IT IS ORDERED, ADJUDGED and DECREED that the Debtor is authorized to use the

  cash collateral of the Cash Collateral Creditors to pay the former employees and independent

  contractors listed on the attached Exhibit “A”.




                                                       ###


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  1
   Far West Capital is holding a approximately $208,000 of Debtor’s money in a Reserve Account. As such, Far
  West Capital is over secured.
